 

, ~~ ~\ ~ ~ ~~' ' \/uu¢lllullv\'t“i:llul ul L\'li|,d.'~"dk'llut`ll,$ y UN{FORM COMMERC; ‘
pag§ C§§§ 1 :04- --§v 1 1955- W’GV“ if.$.z ’d“§'amé f59-9"/? Fil§. - -

n ./“‘?

""_1/ " 1. J:§‘(- £?P` f‘ "

`L:, ¢, ¢¢J»~M~y‘}a`/KM"‘”"'
A TRUE cOPY ATTEST W,MFLA¢.QGAL…~ "~"“ “ ’

§cHETAR\' QFTHE commor:wE/\LTH
(

    
    

» R CORD OF FlLiNG

M§ »h21 1996
m 12:’11pm

 

 

 

 

 

 

f!_" i' ,§:,¢“,*¢/‘~(, L;.;{-»;,- _~_~»~--»..»:",l, 511 i\j,v;'
§ 4 RV\T‘- n `
ou;.&a§;.:;?du,l'.l:`.'»::l : ,xqrnmuo roan seen ucc_`a.

 

l}avid i\. Landa> 4
".' 8_5 bpt lnd_£a Rov‘
9 4 v.: :\.pr. ZUF_' `. `
.Cr`hmed Pn'r_k »' ` ‘; ' .139\1§\::1, HJ`\ 021.10, ~
{*¢i-_lfq`rd.', ‘ ~' ' ' ` -~ `

 

 

 

 

.`V Wk»lh¢qusmmmewswww»qumwm»¢¢¥m
`\.&lico.nsoru 6!‘ viabcur igcluding without limitation ch
:u§n§d §§ ambit .\ ~

 

 

 

 

 

 

 

` " g ` ' ""` """" ' ""'" 1 bvlllllll)ll“'¢:`alm 01 lV;¢lSSaoCI¥U(‘t{]S| l N}F_‘ g 1 ERC L COD __ R CORD OF_~ F§L}NG
pag@. ' ' C§gg§ 1 :0-4 -§v- 11955WGV9..;D:»5991:1191$1 59- 6 Fn§

96376864 M"'“"f°§‘m‘%?$?

 

 

and conc).acr. x"`.§ghtu. of Dab'.'or,

whether nov or. h:%eafcer:1 "

9141 chacc¢} paper\a'

`g099u ;h`a s_al.»z' ox_~ lease of vh":.czi shiali have given 4c>r shall gi~.r+:" '
’ . .t; 0( the toro<'¢:.:~g.` an\ ali proceed&..::_£ any of th¢i; férego‘ng
- . - 'M .

». ,_-s A<.counda Recjéx".\\|:ld hud C9z‘t.

"act. 47§ight5 )

-A_ll cqu pmen»," .x;;ures

a':.'¢ _`pfdc§§?:ib; 995 ,';)rbdz?z_c:_q thereof a'hd preqent`ly loca‘!;\z<;x ac" 9
6rn:~x4cn' 54'¢'1:.;<, Mxl[$ou‘h )".nunachuoncea 'w!ioc_hu:‘ uaw or hereafter c.$:

‘ d 4cqu “'G»mmai ,mtang‘bles".\‘

 

 

